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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                            Plaintiff,                     EXHIBIT LIST

        vs.                                               Case No.          4:21MJ3121
                                                          Deputy:           Jeri Bierbower
MATT TIBBELS,                                             Reporter:         Digital Recorder
                                                          Date:             October 08, 2021
                            Defendant.


PLF     DFT     3       DESCRIPTION                                   OFF     OBJ    RCVD      NOT    DATE
                PTY                                                                            RCVD

1                       Interim Licensing Agreement                   X              X                10/8/2021




OBJECTIONS
       R: Relevancy
       H: Hearsay
       A: Authenticity
       O: Other (specify)




                                                      1
